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JAMES VALERIO, ET AL.,
         Plaintiffs,

               V.                                CIVIL ACTION NO. 2007-12359-WGY

MARY JO FEENEY,
          Defendant.


              REPORT RE: REFERENCE FOR
       ALTERNATIVE DISPUTE RESOLUTION TO JUDGE
COLLINGS, U.S.M.J.
       On March 19, 2010, I held the following ADR proceeding:
       ______ EARLY NEUTRAL EVALUATION           ___X____ MEDIATION
       ______ MINI-TRIAL                         _______ SUMMARY JURY TRIAL
       ______ SETTLEMENT CONFERENCE

       The parties and/or their representatives were present.
[X ]   The case was NOT SETTLED. Further efforts to settle the case at this time are unlikely
       to be successful. The plaintiff has been urged to retain an attorney. The jury trial
       should be held as scheduled for the running trial list as of May 3, 2010.

       March 19, 2010                                    Robert B. Collings
               DATE                                      ROBERT B. COLLINGS
                                                         United States Magistrate Judge
Copy to:       Judge Young
               Yvonne Franklin
